929 F.2d 692Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Monroe CORNISH, Plaintiff-Appellant,v.A. GONZALEZ, Officer, Defendant-Appellee.
    No. 91-7017.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 4, 1991.Decided March 22, 1991.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Malcolm J. Howard, District Judge.  (CA-90-699)
      Monroe Cornish, appellant pro se.
      E.D.N.C.
      AFFIRMED.
      Before WIDENER and K.K. HALL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Monroe Cornish appeals from the district court's order which dismissed his action against a prison official under Bivins v. Six Unknown Named Agents of the Federal Bureau of Narcotics, 403 U.S. 388 (1971), as frivolous under 28 U.S.C. Sec. 1915(d).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Cornish v. Gonzalez, CA-90-699 (E.D.N.C. Dec. 11, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    